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1                               UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF CALIFORNIA
2                                  SAN FRANCISCO DIVISION
3                                             Case No. 3:23-cv-01710-AMO
     FEDERAL TRADE COMMISSION,
4                                             JOINT MOTION TO CONTINUE THE
                 Plaintiff,                   EVIDENTIARY HEARING RE
5                                             PLAINTIFF’S MOTION FOR A
           v.                                 PRELIMINARY INJUNCTION (DKT. 109)
6                                             AND HEARINGS RE ALL RELATED
     INTERCONTINENTAL                         MOTIONS (DKT. 95, 171)
7    EXCHANGE, INC.
8    and
9    BLACK KNIGHT, INC.,
10               Defendants.
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1           Pursuant to the Federal Rules of Civil Procedure and Local Rule 7-7 of the Northern

2    District of California, the parties hereby submit this Joint Motion to Continue the Evidentiary

3    Hearing Regarding Plaintiff’s Motion for a Preliminary Injunction (Dkt. 109), and the hearings

4    for all related motions—specifically, Plaintiff’s Motion to Strike (Dkt. 95) and Plaintiff’s Motion

5    in Limine (Dkt. 171)—so that Plaintiff Federal Trade Commission (the “FTC”) can assess a

6    potential resolution of the current matter in light of Defendants Intercontinental Exchange, Inc.

7    (“ICE”) and Black Knight, Inc.’s (“Black Knight”) announcement of the planned divestiture of

8    Optimal Blue. Specifically, the parties jointly respectfully request a continuance of the July 20,

9    2023 hearings regarding Plaintiff’s Motion to Strike and Motion in Limine, and of the July 24-

10   26, 2023 evidentiary hearing regarding Plaintiff’s Motion for a Preliminary Injunction until

11   August 9, 2023 for a pre-hearing conference and hearings on Plaintiff’s Motion to Strike and

12   Motion in Limine, and August 14-16, 2023 for the evidentiary hearing. The basis of this Joint

13   Motion to Continue is contained in the following Memorandum.

14                                           MEMORANDUM

15          Defendants have recently informed FTC Staff that they have entered certain agreements

16   to divest Black Knight’s Optimal Blue business, including the Optimal Blue product, pricing &

17   eligibility engine. The planned sale of Optimal Blue is a significant development in the case and

18   requires time for FTC Staff to (1) analyze the implications of the divestiture for this case and the

19   parallel administrative proceedings, (2) discuss a potential resolution of the pending matter with

20   Defendants, and (3) advise the FTC Commissioners.

21          The parties thus respectfully ask for a brief continuance of the hearings on all outstanding

22   motions in this case, including Plaintiff’s Motion for a Preliminary Injunction. The parties

23   propose a continuance of the pre-hearing conference, and the hearings regarding the FTC’s

24   Motion to Strike and Motion in Limine until August 9, 2023, and of the evidentiary hearing until

25   August 14-16, 2023. A brief continuance will enable the parties to potentially avoid unnecessary

26   burdens on the Court and third parties (several of whom are slated to testify at the hearing) that

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1    would otherwise be incurred if the evidentiary hearing were to proceed as scheduled over July

2    24-26, 2023.

3           The parties thus respectfully submit this Joint Motion to Continue the Evidentiary

4    Hearing Regarding Plaintiff’s Motion for a Preliminary Injunction (Dkt. 109) until August 14-16,

5    2023, with a pre-hearing conference on August 9, 2023.

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7    SUSMAN GODFREY L.L.P.                          FEDERAL TRADE COMMISSION

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1               FILER’S ATTESTATION PURSUANT TO CIVIL LOCAL RULE 5-1

2           I, Kalpana Srinivasan, am the ECF User whose ID and password are being used to file the

3    foregoing. In compliance with Civil Local Rule 5-1(h)(3), I attest that the other signatories

4    concurred in this filing, and I shall maintain records to support this concurrence for subsequent

5    production for the Court if so ordered or for inspection upon request by a party.

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7    Dated: July 17, 2023                                         /s/ Kalpana Srinivasan

8                                                                 Kalpana Srinivasan

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